                      IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

JOHN RITCHIE                                  )
                                              )
       Plaintiff,                             )       Cause No. 2:19-cv-04216-BCW
                                              )
v.                                            )
                                              )
MISSOURI DEPARTMENT OF                        )
CORRECTIONS, et al.,                          )
                                              )
       Defendants.                            )

                         JOINT PROPOSED SCHEDULING PLAN

       Pursuant to the Court’s December 30, 2019 Order (Doc. No. 5), the parties convened for

their Rule 26(f) conference on January 9, 2010, and now submit the following Joint Proposed

Scheduling Plan:

       1.      All motions for joinder of additional parties or amendment of pleadings shall be

made no later than May 29, 2020.

       2.      The discovery plan is as follows:

               a.     The parties do not anticipate any issues related to electronically stored

                      information and agree that all electronically stored information shall be

                      produced in a reasonably useable form. If it appears that electronically

                      stored information will be extensive, the parties will work together to file a

                      joint proposed ESI protocol with the Court. If the parties are unable to

                      resolve any disagreements regarding electronically stored information, the

                      parties will submit such disagreements to the Court for resolution.

               b.     The parties shall jointly develop a stipulated protective order to be filed with

                      this Court.



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   c.    The parties shall exchange Fed. R. Civ. P. Rule 26(a)(1) disclosures no later

         than February 21, 2020.

   d.    Discovery will not be conducted in phases or limited to certain issues.

   e.    The presumptive limits of ten (10) depositions per side as set forth in

         Fed.R.Civ.P. 30(a)(2)(A) will not be sufficient due to the number of

         important fact witnesses. The parties stipulate to fifteen (15) depositions.

         The presumptive limit of twenty-five (25) interrogatories per party as set

         forth in Fed.R.Civ.P. 33(a) should apply in this case.

   f.    Plaintiffs’ retained expert witnesses and reports as well as 26(a)(2)(C)

         summaries from non-retained expert witnesses shall be disclosed no later

         than September 28, 2020; Plaintiffs’ expert witnesses shall be made

         available for deposition no later than November 15, 2020. Defendants’

         experts and reports as well as 26(a)(2)(C) summaries from non-retained

         expert witnesses shall be disclosed no later than January 14, 2021;

         Defendants’ expert witnesses shall be made available for deposition no later

         than March 1, 2021. Rebuttal experts and reports shall be provided no later

         than April 1, 2021. Rebuttal experts shall be made available for deposition

         no later than May 3, 2021.

   g.    If physical examinations of Plaintiff are requested, the requests shall be

         made no later than July 24, 2020, and the examinations shall be completed

         no later than September 25, 2020.

   h.    All discovery will be completed no later than May 3, 2021. The parties

         acknowledge that this deadline would provide more than 180 days to

         complete discovery. Pursuant to Local Rule 26.1, the parties submit that this


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                       deadline accounts for what the parties agree will be time-consuming

                       discovery, given the complexity of the issues and number of fact and expert

                       witnesses anticipated.

                i.     All motions to compel discovery must be filed no later than May 14, 2021.

                j.     Any Daubert motions will be filed no later than May 28, 2021.

        3.      All dispositive motions shall be filed no later than June 14, 2021.

        4.      The earliest possible date by which this case should reasonably be expected to be

ready for trial is October 25, 2021.

        5.      The parties anticipate a jury trial of no more than one week, but each party reserves

the right to modify the number of trial days anticipated based on discovery to be conducted in this

case.



Respectfully submitted,



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